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                                                   March 28, 2022
                                                   Via ECF
     Hon. Gerald A. McHugh
     United States District Judge
     9613 United States Courthouse
     601 Market Street
     Philadelphia, PA 19106-1744

                             Re: United States v. Abdur Rahim Islam, et al.
                                             No. 20-CR-45

     Dear Judge McHugh:
     Along with David Laigaie of Eckert Seamans, I represent defendant Islam. I write to advise
     the Court that we join in the analysis presented by defendant Chavous in her memorandum
     filed March 27 (DE 227) concerning the relevance of certain evidence to which the
     government has objected. The Chavous memorandum accurately discusses the state of the
     law, under Supreme Court and Third Circuit precedent, defining the intent aspect of the quid
     pro quo element of the bribery theory of honest services fraud. As applied to Mr. Islam (or
     Mr. Dawan) this means that the government’s burden on Counts Nine and Ten is to prove,
     beyond a reasonable doubt, that in causing Universal to engage Ms. Chavous and to pay her
     as a consultant, Mr. Islam intended that Councilmember Johnson, in exchange, would be
     influenced by those payments to take official action “that he would not otherwise take.”
     United States v. Wright, 665 F.3d 560, 568 (3d Cir. 2012).
     Evidence that Mr. Islam (or Mr. Dawan) believed that Mr. Johnson had already decided to –
     or even that he was merely likely to – support the projects that Universal favored is relevant,
     even if not conclusive, to the Universal defendants’ lack-of-corrupt-intent defense. The
     government’s burden on elements of the offense, of course, is by proof beyond a reasonable
     doubt. The issue we are considering here concerns an element, not any sort of “defense” on
     which the defendants have any burden. Evidence a defendant seeks to have admitted is
     “relevant” if it would have any logical tendency to induce even a single juror to harbor
     reasonable doubt about an element of a charged offense (which is a paradigm “fact [that is]
     of consequence in determining the action,” Fed.R.Evid. 401(b)), as to any one (or more) of
     the defendants. And all evidence is admissible if it is at all relevant and not otherwise
     excluded by a more specific provision. Rule 402. Indeed, the defendants’ Sixth Amendment
     “right to present a defense” puts a constitutional thumb on the scales in their favor in this
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regard. See Holmes v. South Carolina, 547 U.S. 319, 324–27 (2006). The evidence offered
by the defendants, by itself, does not have to “prove” anything. The government’s own case
relies on inferences, not direct evidence, to prove the defendants’ criminal intent. Any
evidence suggesting the contrary is equally admissible. United States v. Green, 617 F.3d 233,
251 (3d Cir. 2010) (addressing evidence suggesting “bias” and “lack of bias” as equally
relevant and equally admissible).
The defense proposes to offer evidence that Mr. Islam knew or believed, prior to and during
the Chavous engagement, that Councilmember Johnson (a) was in general a staunch
supporter of Universal; (b) was in general pro-growth and pro-development; and/or (c) gener-
ally supported development projects when significant elements of the relevant community
supported those projects. This evidence, if believed by the jury (or by one or more jurors)
would have a logical tendency to make less likely (and thus to generate reasonable doubt
concerning) any inference that Mr. Islam intended improperly to influence the Council-
member to support any Universal project by hiring Ms. Chavous in a capacity for which she
was eminently qualified. This evidence is relevant for the same reason that the government’s
evidence that some community members opposed one or the other project may be relevant,
but is not conclusive. (An elected official has to balance competing interests and preferences,
including differing constituents, and cannot expect to please everyone at all times.)
All evidence of Universal’s past and present relationship with the Councilmember, and of
Mr. Islam’s knowledge of that relationship (or Mr. Dawan’s), is relevant to the jury’s task of
determining whether either of them intended improperly to influence Mr. Johnson, as alleged
in Counts Nine and Ten, and in particular whether such intent has been proven beyond a
reasonable doubt. “Without the knowledge, the intent cannot exist.” Ingram v. United States,
360 U.S. 678 & 680 (1959) (quoting earlier authority).

                                               Respectfully,


                                               PETER GOLDBERGER
                                               Co-Counsel for Defendant Islam

cc: All counsel (via ECF)
